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           In the United States Court of Federal Claims
                                         No. 15-429
                                    (Filed: 16 July 2020)
                                  NOT FOR PUBLICATION

***************************************
STUART NICHOLS AULD,                  *
                                      *
                  Plaintiff,          *
                                      *
v.                                    *
                                      *
THE UNITED STATES,                    *
                                      *
                  Defendant.          *
                                      *
***************************************

       Stuart Nichols Auld, pro se, of Kansas City, MO.

       Sonia M. Orfield, Trial Attorney, Commercial Litigation Branch, Civil Division, United
States Department of Justice, with whom was Joseph H. Hunt, Assistant Attorney General,
Benjamin C. Mizer, Principal Deputy Assistant Attorney General, Robert E. Kirschman, Jr.,
Director, Steven J. Gillingham, Assistant Director, all of Washington, DC, for defendant.
Nanette Gonzales, United States Department of the Interior, of Lakewood, CO, of counsel.

                                   OPINION AND ORDER

HOLTE, Judge.

        On 28 April 2015, plaintiff filed a pro se complaint claiming, among other things,
wrongful termination, breach of employment contract, breach of the implied covenant of good
faith and fair dealing, and unlawful taking of his property and liberty interests in federal
employment without due process of law, all arising from the termination of his employment with
the U.S. Department of Interior, Bureau of Land Management (“BLM”). See Compl., ECF No.
1. While he was represented by counsel, plaintiff amended his complaint on 25 April 2016. See
Am. Compl., ECF No. 28. Pending before the Court is plaintiff’s motion for leave to file a
second amended complaint. For the following reasons, the Court DENIES plaintiff’s motion.

I. Background

       A. Factual Background

        The Court draws the following facts from plaintiff’s complaint and proposed second
amended complaint. All allegations are assumed to be true for the purposes of resolving
plaintiff’s motion. See Marchena v. United States, 128 Fed. Cl. 326, 330 (2016), aff’d, 702 F.


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App’x 988 (Fed. Cir. 2017) (“A proposed amendment is futile if it would not survive a motion to
dismiss.”); Estes Express Lines v. United States, 739 F.3d 689, 692 (Fed. Cir. 2014) (“In
deciding a motion to dismiss for lack of subject matter jurisdiction, the court accepts as true all
uncontroverted factual allegations in the complaint, and construes them in the light most
favorable to the plaintiff.”).

       As alleged by plaintiff, in June 2009, plaintiff began working as a realty specialist for
BLM. Proposed 2d Am. Compl. ¶ 5, ECF No. 75. His appointment was subject to a one-year
probationary period. Id. ¶ 3. Plaintiff previously held a temporary appointment with the
Department of Commerce, Bureau of Census, from 1998 to 2000. Id. ¶¶ 2, 39.

        Plaintiff had an agreement with BLM whereby the government would pay for his moving
expenses from Kansas, where he resided prior to his employment, to Colorado, his BLM duty
location. Id. ¶ 46. Payment was conditioned upon plaintiff remaining in federal government
service for at least twelve months. Id. If plaintiff left his federal employment, he agreed to
repay the relocation expenses. Id. ¶ 47. BLM advanced the moving expenses to plaintiff on the
condition that he use these funds for moving expenses within the prescribed time. Proposed 2d
Am. Compl. ¶ 48.

        Pursuant to his employment, plaintiff was required to obtain a government credit card to
be used only for specific purposes, such as government travel. Id. ¶ 51. The card had an
individual $1,000 credit line, and on several occasions, plaintiff used his government credit card
for personal purchases. Id. ¶¶ 51–52. Plaintiff alleges an additional purpose for the card was
emergency expenditures. Id. ¶ 51. Prior to using the card, plaintiff completed and passed
training for the proper use of the government credit card. Id. In addition, BLM gave plaintiff
oral instructions on how to use the card for government use and personal or individual charges.
Proposed 2d Am. Compl. ¶ 51. Plaintiff’s supervisor told plaintiff to circle personal charges on
each monthly statement, write “I” or “Ind.” to indicate the “individual charge,” submit to the
accounting department for approval, and pay the charges before the due date. Id. Plaintiff
abided by this oral policy each time he used the card for personal charges. Id. ¶ 52. Plaintiff
claims he was not provided with a written policy for the government credit card. Compl. ¶ 8.

         On 15 March 2010, plaintiff used his government credit card to purchase gasoline for his
personal vehicle in what he describes as an “emergency situation.” Proposed 2d Am. Compl. ¶
55. Plaintiff explained that after putting $15 worth of gasoline in his vehicle, the machine would
not accept his personal card, the gas station would not accept an out-of-state check, and plaintiff
only had $10 in cash. Id. Plaintiff followed the oral policy conveyed to him for personal
charges. Id. ¶ 56. On 30 April 2010, however, before plaintiff completed the one-year
probationary period, plaintiff’s supervisors told him his “use of the government credit card for
personal charges constituted a ‘fraud’ and a ‘crime.’” Id. ¶ 57. As a consequence, BLM
terminated plaintiff’s employment, citing performance and conduct-related matters. Id. ¶ 58.
The termination letter specifically noted that plaintiff violated the government credit card policy
by using it to purchase gasoline for his personal vehicle on four separate occasions. Id. The
letter also stated that plaintiff failed to follow his supervisor’s instructions on multiple occasions.
Id.




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       B. Procedural History

        Plaintiff filed his complaint in this case on 28 April 2015 after pursuing similar litigation
in Missouri state court and the United States District Court for the Western District of Missouri.
See Compl.; id. ¶ 14. After plaintiff requested appointment of counsel, the previous judge
assigned to this case referred plaintiff to the Court of Federal Claims Bar Association Pro Bono
Attorney Referral Program. See Mot. to Appoint Counsel, ECF No. 16; Order, ECF No. 19. As
a result of this referral, plaintiff came to be represented by counsel. See Order, ECF No. 22
(granting plaintiff’s pro bono counsel’s motion to substitute attorney). Plaintiff’s counsel filed
an amended complaint on 25 April 2016. See Am. Compl., ECF No. 28. The amended
complaint asserts two counts: claiming BLM breached an alleged employment agreement with
plaintiff; and claiming BLM’s actions were arbitrary and capricious. See id. ¶¶ 32–48.

        On 13 July 2016, the government filed a motion to dismiss for lack of jurisdiction
pursuant to Rule 12(b)(1) of the Rules of the United States Court of Federal Claims (“RCFC”)
and for summary judgment. See Mot. to Dismiss Pursuant to Rule 12(b)(1) & for Summ. J., ECF
No. 35. This motion remains pending.

       After a disagreement on litigation strategy, on 20 September 2016, plaintiff’s pro bono
counsel moved to withdraw, which the Court granted on 22 November 2016. See Mot. to
Withdraw as Att’y, ECF No. 40; Order, ECF No. 46. After three more referrals for potential pro
bono representation, plaintiff was unable to obtain new representation and now proceeds pro se.
On 4 March 2019, plaintiff filed a motion for leave to file a second amended complaint. See
Mot. to Am. Compl., ECF No. 74. The government filed its opposition to plaintiff’s motion on
18 March 2019. See Def.’s Opp’n to Pl.’s Mot. to Am. Compl., ECF No. 76. The previous
judge assigned to this case granted plaintiff leave to file a reply to the government’s opposition,
which plaintiff filed on 22 July 2019. See Pl.’s Reply, ECF No. 77. On 29 July 2019, this case
was transferred to the undersigned Judge. See Order, ECF No. 78.

       After multiple attempts to schedule oral argument on plaintiff’s motion to amend, the
Court now proceeds on the papers. See Order, ECF No. 96.

       C. Plaintiff’s Motion for Leave to File Second Amended Complaint

        Plaintiff’s filing comprises a 41-page memorandum seeking leave to file a second
amended complaint (ECF No. 74), a second 43-page memorandum in support of the motion, and
a proposed second amended complaint spanning over 100 pages with exhibits (ECF No. 75). See
generally Mot. to Am. Compl.; Proposed 2d Am. Compl. The memorandum does not present
legal argument in favor of amendment; rather, the memorandum continues to assert the same
allegations and legal arguments on the merits of plaintiff’s numerous claims. See generally Mot.
to Am. Compl. In addition to numbered paragraphs, the two memoranda and proposed second
amended complaint include pasted partial images of receipts, accounting statements, emails,
checks, and other documents with no clear caption or description. See generally id.; Proposed 2d
Am. Compl. Plaintiff asserts the following counts:

                                             COUNT I



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  DEFENDANTS’ DOI/BLM UNFAIRLY, UNILATERALLY BREACHED (IN BAD
  FAITH) THEIR EXPRESSED AND IMPLIED, IN FACT, ORAL AND WRITTEN
  BILATERAL CONTRACTS/AGREEMENTS WITH PLAINTIFF USING FALSE,
 UNSUBSTANTIATED, INVALID, VOID, WAIVED AND/OR LEGALLY ESTOPPED
    ALLEGATIONS, THAT DEFENDANTS WERE LEGALLY BARRED FROM
                            ASSERTING;

          QUANTUM MERUIT/QUANTUM VALEBANT RELIEF; AND

  VIOLATION OF FEDERAL ACTS, STATUTES, REGULATIONS, POLICIES AND
   PROCEDURES AS TO PLAINTIFF’S FEDERAL EMPLOYEE EMPLOYMENT
                              RIGHTS

 (VARIOUS FORMS OF COMPLETE RELIEF, INCLUDING EQUITABLE RELIEF,
     ARE ALSO AVAILABLE FROM THE COFC IN CONJUNCTION WITH
            UNILATERAL BAD FAITH BREACHES OF BILATERAL
   CONTRACTS/AGREEMENTS AND VIOLATION(s) OF APPLICABLE MONEY
 MANDATING ACTS, STATUTES, REGULATIONS, POLICIES AND PROCEDURES
AND/OR IN SETTLEMENT OF ACCOUNTS AND/OR IN REMAND ORDERS AND/OR
                IN PAYING ILLEGAL EXACTION DAMAGES)

                                     COUNT II
BACK PAY ACT (5 CFR Part 550 - PAY ADMINISTRATION (GENERAL), SUBPART H
Back Pay (§§ 550.801 - 550.808)AND FEDERAL EMPLOYEES SALARY ACT/5 U.S.
CODE SUBCHAPTER III - GENERAL SCHEDULE PAY RATE 5 U.S.C. 5332-5333-
5335- UNDER PAYMENT OF SALARY CLAIMS; AND VIOLATION OF FEDERAL
ACTS, STATUTES, REGULATIONS, POLICIES AND PROCEDURES AS TO
PLAINTIFF’S FEDERAL EMPLOYEE EMPLOYMENT RIGHTS

                             COUNT III
   EQUAL PAY ACT AND FEDERAL EMPLOYEES SALARY ACT/5 U.S. CODE
 SUBCHAPTER III - GENERAL SCHEDULE PAY RATE/CLASSIFICATION/UNDER
                     PAYMENT OF SALARY CLAIMS

                          COUNT IV
DEMAND FOR ACCOUNTING AND SETTLEMENT OF ACCOUNTS PURSUANT TO
                        28 U.S.C. § 1494

                           COUNT V
 CONSTITUTIONAL VIOLATIONS- (PROPERTY AND LIBERTY INTERESTS IN
 FEDERAL EMPLOYMENT UNCONSTITUTIONALLY SEIZED/5th AMENDMENT
                   TAKING W/O DUE PROCESS

 REINSTATEMENT REQUIRED TO ADDRESS NEW ALLEGATIONS OF WRONG
    DOING FILED IN THESE PROCEEDINGS AND NEVER RAISED BEFORE
        (NO FEDERAL EMPLOYEE DUE PROCESS-BACK TO “GO”);



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    REQUEST FOR SPECIFIC PERFORMANCE BY DEFENDANTS UPON ALL ORAL
          AND WRITTEN, EXPRESS OR IMPLIED, IN FACT, BILATERAL
     CONTRACTS/AGREEMENTS AS PLAINTIFF SUBSTANTIALLY PERFORMED

                                  COUNT VI
               REMAND ACT ORDER & MO SERVICE LETTER VIOLATION
                            (Mo. Rev. Stat. § 290.140)

                                                 COUNT VII
                                              FLSA VIOLATIONS

                                                COUNT VIII
                                            ILLEGAL EXACTION

                                            COUNT IX
                                    FDCPA/FCRA/DCA VIOLATIONS

See generally Proposed 2d Am. Compl. (all emphasis and spacing in original).

          While plaintiff sets forth his claims according to nine separate counts, the Court construes
plaintiff’s various claims, in the light most favorable to plaintiff, as follows: (1) wrongful
termination; (2) breach of employment contract; (3) bad faith claim; (4) various statutory claims;
(5) due process and equal protection claims; (6) takings claim; and (7) a request for equitable
relief. 1 See generally id.

II. Discussion

         A. Standard of Review

                  1. RCFC 15 and Amending Pleadings

        RCFC 15 permits a party to amend its pleadings as a matter of course either (A) within
“21 days after service of the pleading;” or (B) “if the pleading is one to which a responsive
pleading is required, 21 days after service of a responsive pleading or 21 days after service of a
motion under RCFC 12(b), (e), or (f), whichever is earlier.” RCFC 15(a)(1). If neither situation
applies, as is the case here, “a party may amend its pleading only with the opposing party’s
written consent or the court’s leave.” RCFC 15(a)(2). When the Court’s leave is required to
amend a pleading, as is the case here, RCFC 15(a)(2) instructs that “[t]he court should freely
give leave when justice so requires.” Zenith Radio Corp. v. Hazeltine Research., Inc., 401 U.S.
321, 330 (1971). “It is settled that the grant of leave to amend the pleadings pursuant to Rule
15(a) is within the discretion of the trial court.” Id.


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  To the extent plaintiff attempts to seek relief according to various provisions of state law or other miscellaneous
statutes not supported by the factual allegations, such claims are unpersuasive, meritless, or unnecessary for
resolving the issues currently before the Court.


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      Interpreting the parallel Federal Rule of Civil Procedure governing amendment, the
Supreme Court explained:

       In the absence of any apparent or declared reason—such as undue delay, bad faith
       or dilatory motive on the part of the movant, repeated failure to cure deficiencies
       by amendments previously allowed, undue prejudice to the opposing party by virtue
       of allowance of the amendment, futility of amendment, etc.—the leave sought
       should, as the rule requires, be “freely given.”

Foman v. Davis, 371 U.S. 178, 182 (1962). “Futility of the proposed amendment is an adequate
reason to deny leave to amend.” Cultor Corp. v. A.E. Staley M’fg Co., 224 F.3d 1328, 1333
(Fed. Cir. 2000). “A proposed amendment is futile if it would not survive a motion to dismiss.”
Marchena, 128 Fed. Cl. at 330. “When a party faces the possibility of being denied leave to
amend on the ground of futility, that party . . . must proffer sufficient facts supporting the
amended pleading that the claim could survive a dispositive pretrial motion.” Kemin Foods, L.C.
v. Pigmentos Vegetales Del Centro S.A. de C.V., 464 F.3d 1339, 1354–55 (Fed. Cir. 2006).

               2. Subject-Matter Jurisdiction

        The Tucker Act provides this Court jurisdiction to hear “any claim against the United
States founded either upon the Constitution, or any Act of Congress or any regulation of an
executive department, or upon any express or implied contract with the United States, or for
liquidated or unliquidated damages in cases not sounding in tort.” 28 U.S.C. § 1491(a)(1). “The
Tucker Act does not, of itself, create a substantive right enforceable against the United States,
but the plaintiff must identify a separate contract, regulation, statute, or constitutional provision
that provides for money damages against the United States.” Smith, 709 F.3d at 1116 (internal
citation omitted). “To be cognizable under the Tucker Act, the claim must be for money
damages against the United States, and the substantive law must be money-mandating.” Id.

        While this Court holds pro se complaints “to less stringent standards than formal
pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), a plaintiff’s pro se
status “does not excuse its failures, if such there be.” Henke v. United States, 60 F.3d 795, 799
(Fed. Cir. 1995); see also Ellis v. United States, 796 F. App’x 749, 750 (Fed. Cir. 2020) (per
curiam) (“Although we generally interpret the pleadings of a pro se plaintiff liberally, pro se
status cannot excuse a failure to demonstrate that jurisdictional requirements are met.” (internal
citation omitted)); Kelley v. Sec’y, U.S. Dep’t of Labor, 812 F.2d 1378, 1380 (Fed. Cir. 1987)
(“[A] court may not . . . take a liberal view of that jurisdictional requirement and set a different
rule for pro se litigants only.”).

       B. The Parties’ Arguments

       Although plaintiff’s opening brief focuses on the merits of his claims, in his reply to the
government’s opposition, plaintiff argues his proposed second amended complaint “better
presents to this Court ALL of Plaintiff’s non-frivolous, legitimate claims[,] many of which are
based upon newly discovered evidences and causes of action.” Pl.’s Reply, Ongoing Objs.,
Denials & Legal Defenses to Def.’s Opp’n to Pl.’s Mot.(s) for Leave to Am./Suppl. Compl.(s) at



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¶ 5, ECF No. 77 (“Pl.’s Reply”). Additionally, plaintiff argues because this case is, at least
procedurally, “still in its infancy,” with no scheduled discovery or trial, amendment will not
prejudice the government. Id. ¶ 9. Plaintiff asserts his proposed second amended complaint
“merely corrects the omissions of causes of action by Plaintiff’s pro bono attorneys who tried to
simplify the case too much from Plaintiff’s Original Complaint and did not dig deep enough to
uncover (or investigate) ALL of Plaintiff’s causes of action.” Id.

       The government opposes plaintiff’s request to amend his complaint a second time. The
government argues plaintiff’s “amended complaint is futile because, even with his proposed
amendments, Mr. Auld’s claims cannot withstand the Government’s motion to dismiss or for
summary judgment.” Def.’s Opp’n at 2. The government further argues, “the Court does not
possess jurisdiction over any of Mr. Auld’s claims related to the termination of his employment
and thus amendment is futile.” Id. at 12.

        C. Analysis

         The government opposes plaintiff’s motion for leave to file a second amended complaint
as futile because it argues the Court lacks jurisdiction over the claims in the proposed second
amended complaint. The Court therefore focuses its analysis on whether amendment will be
futile by engaging in a jurisdictional analysis of the claims plaintiff asserts in his proposed
second amended complaint. See Marchena, 128 Fed. Cl. at 330 (“A proposed amendment is
futile if it would not survive a motion to dismiss.”).

                 1. Plaintiff’s Wrongful Termination Claim

        Plaintiff alleges his termination violated statutes and regulations governing federal
employment. Proposed 2d Am. Compl. ¶ 127. Terminated federal employees with probationary
status have limited rights of appeal. Mastriano v. Fed. Aviation Admin., 714 F.2d 1152, 1155
(Fed. Cir. 1983); see also House v. Merit Sys. Prot. Bd., 298 F. App’x 982, 983 (Fed. Cir. 2008)
(“A probationary employee has very limited appeal rights.”); Walker v. Merit Sys. Prot. Bd., 594
F. App’x 984, 986 (Fed. Cir. 2014) (“When reviewing cases involving probationary employees,
the Board’s jurisdiction is particularly limited.”). Plaintiff admits he was a probationary
employee but requests the Court disregard this fact because he was within 30 days of completing
his probationary period. See Proposed 2d Am. Compl. ¶ 18 (“Plaintiff maintains that the . . .
probationary period was substantially completed on April 30, 2010, however, his complete
performance is excused because the other contracting party, Defendants, committed the first
material breach. . . . Plaintiff still maintains that he substantially completed the probationary
period as there was only about 30 days remaining . . . .”).

        The probationary period for federal employees ends only “when the employee completes
his or her scheduled tour of duty.” 2 5 C.F.R. § 315.804(b). Since plaintiff did not fully complete
his probationary period, he can only appeal his termination to the Merit Systems Protection
Board (“MSPB”) if he alleged “the agency’s action resulted from discrimination based upon

2
 Moreover, probationary employees are excluded from the definition of “employee” in 5 U.S.C. § 7511. As such,
any statute that provides remedies for federal “employees” does not assist plaintiff because he is not properly
considered a federal employee.


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partisan political reasons or marital status.” House, 298 F. App’x at 983. Though the Court
understands plaintiff’s frustration that he nearly completed his probationary period, the law is
quite clear that he was still probationary. See Walker, 594 F. App’x at 985 (holding that an
employee was properly considered a probationary employee even though she was only two
weeks away from completing her probationary term). Limiting the rights afforded to
probationary employees “was a conscious design by Congress to afford federal managers great
latitude in removing probationary employees before they became vested with the rights afforded
tenured employees.” Bante v. Merit Sys. Prot. Bd., 966 F.2d 647, 650 (Fed. Cir. 1992).

        Plaintiff’s probationary status limited his right of appeal to the MSPB. See Rehling v.
United States, 11 Ct. Cl. 334, 335–36 (1986) (“No statute, regulation, or constitutional provision
entitles such an employee to judicial vindication of his or her discharge. . . . Congress’ sweeping
reform of the Civil Service laws does not provide for review in this court of personnel actions of
the nature taken in this case against probationers.”). Thus, this Court does not have subject-
matter jurisdiction over plaintiff’s wrongful termination claims because he was a probationary
employee.

       Plaintiff further alleges he is a former federal employee who returned to federal
employment with all rights associated with such employment. E.g., Proposed 2d Am. Compl. ¶
90. Plaintiff’s proposed amended complaint, however, contained concessions that he was a
probationary employee. See, e.g., Proposed 2d Am. Compl. ¶ 3.

        The Federal Circuit has held that an agency did not exceed its authority when it imposed
a new probationary period on a former employee after a 13-year gap in service. Shelton v. Dep’t
of Air Force, 382 F.3d 1335, 1337 (Fed. Cir. 2004). In Shelton, the Federal Circuit held an
agency imposing a new probationary period was proper and found it relevant that the plaintiff
was fully informed about the probationary period and accepted it. Id. Here, plaintiff was
informed that his appointment was subject to a one-year probationary period. Proposed 2d Am.
Compl. ¶ 3. Plaintiff’s consent to the probationary period can be reasonably implied by his
acceptance of the position without commenting on or objecting to the probationary period.
While the gap between plaintiff’s different federal jobs was not as long as 13 years, his two jobs
were different. His first federal job was as a deputy director for the Bureau of the Census.
Proposed 2d Am. Compl. Exs. (Notice of Personnel Action dated 30 September 2000 listing
plaintiff’s position as Deputy Director with Bureau of the Census). Thus, he was not returning to
the same position. Therefore, even though plaintiff previously held a federal position, it was not
improper for BLM to impose a new probationary period, a condition of employment which
plaintiff accepted when he took the position. Further, since he was properly considered a
probationary employee, his termination appeal rights were limited, and the Court lacks
jurisdiction over his wrongful termination claim. See LeBlanc v. United States, 50 F.3d 1025,
1028 (Fed. Cir. 1995) (“Nor is there jurisdiction [in the Court of Federal Claims] over the
wrongful discharge claims.”).

               2. Plaintiff’s Breach of Employment Contract Claim

      Plaintiff alleges the government breached a purported employment contract. Proposed 2d
Am. Compl. ¶ 23. Federal Circuit precedent establishes, however, that “[a]bsent specific



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legislation, federal employees derive the benefits and emoluments of their positions from
appointment rather than from any contractual or quasi-contractual relationship with the
government.” Hamlet v. United States, 63 F.3d 1097, 1101 (Fed. Cir. 1995) (quoting Chu v.
United States, 773 F.2d 1226, 1229 (Fed. Cir. 1985)). As such, “a presumption exists that
federal employees serve by appointment, not by contract.” Anderson v. United States, 64 Fed.
Cl. 759, 762 (2005). An employee, who serves by appointment, and not by contract, does not
have an employment contract with the federal government. See Calvin v. United States, 63 Fed.
Cl. 468, 473 (2005) (“Federal employees do not have contractual relationships with the
government, barring an explicit agreement to the contrary executed by a federal officer who has
authority to contract, plaintiffs are appointees, and their claims of breach of employment contract
are precluded.”).

        To the extent plaintiff claims he held a separate employment contract with the
government, to state a claim for breach of contract, a plaintiff must plausibly allege the existence
of a contract with the United States, which requires: “(1) mutuality of intent to contract; (2)
consideration; (3) an unambiguous offer and acceptance; and (4) actual authority on the part of
the government’s representative to bind the government.” Biltmore Forest Broad. FM, Inc. v.
United States, 555 F.3d 1375, 1380 (Fed. Cir. 2009) (quoting Schism v. United States, 316 F.3d
1259, 1278 (Fed. Cir. 2002) (en banc)). Plaintiff’s proposed second amended complaint, despite
its length, does not appear to plausibly allege any of the necessary requirements for the Court to
find plaintiff had an employment contract with the government.

        Plaintiff acknowledges in his proposed second amended complaint that he served by
appointment. Proposed 2d Am. Compl. ¶ 70 (referencing “his appointment to the Realty
Specialist position with DOI/BLM” (emphasis added)). Since plaintiff served by appointment
and his proposed second amended complaint does not plausibly allege an employment contract
with the government, no contract with the government provides jurisdiction over this
employment claim as required under the Tucker Act. See 28 U.S.C. § 1491(a)(1); see also
Engage Learning, Inc. v. Salazar, 660 F.3d 1346, 1353 (Fed. Cir. 2011) (“[Tucker Act]
jurisdiction requires . . . a non-frivolous allegation of a contract with the government.” (first
emphasis added)).

               3. Plaintiff’s Bad Faith Claim

        Plaintiff’s proposed second amended complaint also alleges actions BLM took,
specifically that his six-month review was missing from his personnel file and that the
employment agreement contained an incorrect handwritten statement that he resigned which
constituted bad faith. Proposed 2d Am. Compl. ¶¶ 77, 126. Plaintiff also makes vague
allegations that the government breached an implied covenant of good faith and fair dealing. Id.
¶ 139.

        “Government officials are presumed to carry out their duties in good faith.” Spezzaferro
v. Fed. Aviation Admin., 807 F.2d 169, 173 (Fed. Cir. 1986). This strong presumption requires
“well-nigh irrefragable proof” to overcome the deference given to administrative actions.
Sanders v. U.S. Postal Serv., 801 F.2d 1328, 1331 (Fed. Cir. 1986) (quoting Fucik v. United
States, 655 F.2d 1089, 1097 (Ct. Cl. 1981)). “The plaintiff must produce clear and strong



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evidence of bad faith to overcome this presumption.” Ho v. United States, 49 Fed. Cl. 96, 107
(2001). As previously addressed, plaintiff was a probationary employee, whose post-termination
rights are statutorily limited. Besides making bare allegations that the moving expenses
agreement contained misinformation and that he was unaware that the credit card policy would
result in adverse personnel action, plaintiff has not alleged sufficient facts to support an
allegation of bad faith. Additionally, no employment contract existed here so as to form the
basis of the good faith and fair dealing requirement. See Scott Timber Co. v. United States, 692
F.3d 1365, 1372 (Fed. Cir. 2012) (“[B]ecause the existence of the covenant of good faith and fair
dealing depends on the existence of an underlying contractual relationship, there is no claim for a
breach of this covenant where a valid contract has not yet been formed.”). Thus, the Court lacks
subject-matter jurisdiction over plaintiff’s bad faith claim, and implied covenant claim, even
assuming he pleaded sufficient facts to support it.

               4. Plaintiff’s Statutory Claims

         Plaintiff’s proposed second amended complaint references numerous statutory
provisions. First, plaintiff alleges the termination procedure BLM used violated 5 U.S.C. § 4303,
which requires unacceptable performance actions against employees for failure to meet
performance standards to meet certain procedural requirements. Proposed 2d Am. Compl. ¶ 136.
Plaintiff further cites the requirement in 5 U.S.C. § 4302(a)(3) that performance appraisals be
used as bases for either rewarding or removing employees. Plaintiff contends his termination
violated this provision because BLM did not use his six-month review as the basis for his
termination. Title 5 U.S.C. § 4302, however, does not limit agencies’ rights to terminate
employees to occasions when an employee receives an “unacceptable performance” appraisal. 5
U.S.C. § 4302. Moreover, the statute does not create a cause of action for a violation of the
provision against a probationary employee. See 5 U.S.C. § 4303(f)(2) (“This section does not
apply to . . . the reduction in grade or removal of an employee . . . who is serving a probationary
or trial period . . . .”).

         Plaintiff also references 5 U.S.C. § 4303 to argue he did not receive the employee
protections that provision contemplates. Proposed 2d Am. Compl. ¶ 136. Probationary
employees are specifically excluded from that provision. See 5 U.S.C. § 4303(f)(2). Since
plaintiff is not a federal employee, these provisions do not provide plaintiff any rights. See 5
U.S.C. § 7511(a)(1)(A)(i) (defining an “employee” as “an individual in the competitive service
. . . who is not serving a probationary or trial period” (emphasis added)). Even if plaintiff fell
within the definition of “employee,” these provisions are not money-mandating such that they
would provide this Court jurisdiction under the Tucker Act. See 28 U.S.C. § 1491(a)(1); see also
United States v. Testan, 424 U.S. 392, 401 (1976) (rejecting the argument that violation of
federal employment laws “automatically creates a cause of action against the United States for
money damages”); Smith, 709 F.3d at 1116 (“To be cognizable under the Tucker Act, the claim
must be for money damages against the United States, and the substantive law must be money-
mandating.”).

      Next, plaintiff alleges the government violated the Fair Labor Standards Act (“FLSA”).
Proposed 2d Am. Compl. ¶ 162. “The FLSA only imposes liability in three circumstances:” (1)
“when employers fail to pay a minimum wage;” (2) “when less than the specified amount of



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overtime pay is received; and” (3) “when employers retaliate against employees due to certain
activities.” Casaretti v. United States, 130 Fed. Cl. 588, 590 (2017). Plaintiff does not plausibly
allege he falls under any of these circumstances; therefore, the FLSA cannot serve as a basis for
this Court’s jurisdiction.

        Plaintiff also asserts a claim under the Equal Pay Act. Proposed 2d Am. Compl. ¶ 113.
The government argues this claim is futile because the statute of limitations for an Equal Pay Act
claim has passed. Def.’s Opp’n to Pl.’s Mot. to Am. at 9. “The applicable statute of limitations
for Equal Pay Act claims is found in the Fair Labor Standards Act, 29 U.S.C. § 255(a), which
establishes a two-year limitations period for violations of the Equal Pay Act. When an
employer’s violation of the Act is shown to be ‘willful,’ however, the statute of limitations is
extended to three years.” Santiago v. United States, 107 Fed. Cl. 154, 158 (2012). Plaintiff’s
probationary employment was terminated in 2010, five years before filing his initial complaint in
2015 and nine years before filing his proposed second amended complaint in 2019, so under
review of either document, an Equal Pay Act claim is time-barred and consequently futile.

        Plaintiff additionally alleges entitlement to relief under the Back Pay Act. Proposed 2d
Am. Compl. ¶ 95–107. If plaintiff had a Back Pay Act claim and was not a probationary
employee, the MSPB, and not the Court of Federal Claims, would have jurisdiction to review
that claim. See United States v. Fausto, 484 U.S. 439, 454 (1988) (“[W]e find that under the
comprehensive and integrated review scheme of the [Civil Service Reform Act], the Claims
Court . . . is not an ‘appropriate authority’ to review an agency’s personnel determination.”);
Read v. United States, 254 F.3d 1064, 1067–68 (Fed. Cir. 2001) (“Fausto establishes that the
existence of the [MSPB’s] jurisdiction to take such action precludes the Court of Federal Claims
from entertaining [the appellant’s] back pay suit based upon his removal.”). The Court does not
possess jurisdiction to hear a Back Pay Act claim, and plaintiff’s claim under that Act is
therefore futile.

               5. Plaintiff’s Due Process and Equal Protection Claims

        Plaintiff alleges his termination and prior district court proceeding deprived him of his
due process rights. Proposed 2d Am. Compl. ¶ 123. Additionally, plaintiff alleges violation of
his procedural due process rights. Id. ¶ 134. “The law is well settled that the Due Process
clauses of both the Fifth and Fourteenth Amendments do not mandate the payment of money and
thus do not provide a cause of action under the Tucker Act.” Smith v. United States, 709 F.3d
1114, 1116 (Fed. Cir. 2013). Plaintiff’s due process claims, as a consequence, fall outside this
Court’s jurisdiction and are therefore futile.

               6. Plaintiff’s Takings Claim

        Plaintiff claims his termination was an illegal taking and therefore a violation of the Fifth
Amendment because he had a vested property and liberty interest in his federal employment.
Proposed 2d Am. Compl. ¶ 134. Under the Federal Circuit’s two-part test to determine whether
a taking occurred, the Court must first “determine whether the claimant has established a
property interest for purposes of the Fifth Amendment.” Am. Pelagic Fishing Co. v. United
States, 379 F.3d 1363, 1372 (Fed. Cir. 2004). “It is well-settled law that there is no property



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interest on the part of a probationary employee regarding his job.” Biagioli v. United States, 2
Cl. Ct. 304, 309 (1983). Thus, given plaintiff’s probationary status, he cannot establish a
property interest in his employment to support a takings claim. See id. As a consequence, the
Court lacks subject-matter jurisdiction over plaintiff’s takings claim.

        Further, even if plaintiff had a property interest in his employment, he cannot
concurrently assert that the taking was unlawful. “Tucker Act jurisdiction over Fifth
Amendment takings claims is premised on the requirement that the government action was
legitimate.” Kalos v. United States, 87 Fed. Cl. 230, 237 (2009); see also Blanchette v. Ct. Gen.
Ins. Corps., 419 U.S. 102, 126 n.16 (1974) (“‘The taking of private property by an officer of the
United States for public use, without being authorized, . . . is not an act of the government,’ and
hence recovery is not available in the Court of Claims.” (quoting Hooe v. United States, 218 U.S.
322, 336 (1910)); Tabb Lakes, Ltd. v. United States, 10 F.3d 796, 802 (Fed. Cir. 1993) (“[The]
claimant must concede the validity of the government action which is the basis of the taking
claim to bring suit under the Tucker Act, 28 U.S.C. § 1491.”). Since plaintiff asserts the alleged
taking was unlawful, his complaint fails to “concede the validity of the government action,”
which is required to establish a taking claim in this Court. Tabb Lakes, Ltd., 10 F.3d at 802.
Accordingly, the Court lacks subject-matter jurisdiction over plaintiff’s takings claim.

               7. Plaintiff’s Request for Equitable Relief

        Plaintiff seeks equitable relief in the form of reinstatement to his former position with
BLM, citing this Court’s power to “issue [o]rders directing restoration to . . . position, placement
in appropriate duty, status, and correction of applicable records in order to complement the relief
afforded by a money judgment . . . .” Proposed 2d Am. Compl. ¶ 155 (quoting Testan, 424 U.S.
at 404) (internal quotation marks omitted). Plaintiff’s first amended complaint, however, already
seeks equitable relief in the form of “[r]estor[ing] Mr. Auld to his former position of Realty
Specialist with BLM.” Am. Compl. at 11. To the extent plaintiff attempts to invoke this Court’s
limited jurisdiction “to grant equitable relief ancillary to claims for monetary relief,” such a
request is already before the Court. Nat’l Air Traffic Controllers Ass’n v. United States, 160
F.3d 714, 716 (Fed. Cir. 1998). Plaintiff need not amend his first amended complaint in order to
seek such relief. See Robinson v. Detroit News, Inc., 211 F. Supp. 2d 101, 114 (D.D.C. 2002)
(“An amended complaint is futile if it merely restates the same facts as the original complaint in
different terms, reasserts a claim on which the court previously ruled, fails to state a legal theory
or could not withstand a motion to dismiss.”).

III. Conclusion

        The Court has considered all allegations in plaintiff’s proposed second amended
complaint and all arguments he makes in support of amending his complaint. To the extent not
discussed herein, plaintiff’s other claims are unpersuasive, meritless, or unnecessary for
resolving the issues currently before the Court. Plaintiff’s pursuit to amend his complaint is
futile because this Court lacks jurisdiction to consider his numerous claims. The Court therefore
DENIES plaintiff’s motion for leave to file a second amended complaint.




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         As ordered on 17 April 2020, now that the Court has ruled on plaintiff’s motion, the
Court now LIFTS the stay regarding consideration of the government’s motion to dismiss
plaintiff’s amended complaint and motion for summary judgment, which was filed in 2016. See
Order, ECF No. 96 (order staying consideration of the government’s motion to dismiss and
motion for summary judgment until plaintiff’s motion decided). Due to the lapse in time since
filing, the government shall have until 17 August 2020 to file a supplemental brief, if necessary.
Plaintiff shall have until 17 September 2020 to file a response to the government’s supplemental
brief, if filed. The parties shall limit their respective filings to no more than 10 pages.

       IT IS SO ORDERED.


                                                       s/ Ryan T. Holte
                                                       RYAN T. HOLTE
                                                       Judge




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